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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   --------------------------------------------------------X

   ROBERT BARTLETT, et al.,

                                     Plaintiffs,

                         -against-
                                                               MEMORANDUM & ORDER
                                                                 19-CV-7 (CBA) (TAM)
   SOCIÉTÉ GÉNÉRALE DE BANQUE AU
   LIBAN SAL, et al.,

                                     Defendants.

   --------------------------------------------------------X

   TARYN A. MERKL, United States Magistrate Judge:

            This case involves allegations brought by a group of over 1,200 Plaintiffs under

   the Anti-Terrorism Act (“ATA”), 18 U.S.C. § 2333, as amended by the Justice Against

   Sponsors of Terrorism Act (“JASTA”), Pub. L. No. 114–222, 130 Stat. 852 (2016). (Third

   Am. Compl. , ECF No. 426.) Presently before the Court is a motion regarding discovery,

   by which a non-party, Standard Chartered Bank (“SCB”), seeks clarification of the scope

   of the protective order in this case and requests that this Court admonish Plaintiffs’

   counsel against further use of materials SCB contends are confidential and protected

   under the operative protective order “for any purpose other than the Bartlett case.”

   (Mot. for Disc., ECF No. 374 (hereinafter “SCB Disc. Mot.”); see also Mar. 1, 2024 ECF

   Order (referring the matter to the undersigned).)

                                                BACKGROUND1

            Discovery in this case commenced in Fall 2021. (See Oct. 8, 2021 ECF Min. Entry

   & Order.) During discovery, the parties filed a stipulation and proposed protective


          This Memorandum and Order assumes familiarity with the underlying facts and
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   procedural history of this case, as well as familiarity with the procedural history of the related
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   order, which the Court entered on June 8, 2022. (Order, ECF No. 273 (hereinafter

   “Protective Order”); see also Joint Stip. & Proposed Protective Order, ECF No. 272.) The

   Protective Order expressly provides that it governs the following:

          the handling of documents, depositions, deposition exhibits, interrogatory
          responses, responses to requests for admission, responses to requests for
          production, third-party discovery productions, and any other information
          or material produced, given, or exchanged by and among the Parties and
          any non-parties to the Litigation in connection with discovery in the
          Litigation.

   (Protective Order, ECF No. 273, at 1–2.) The Protective Order further provides, in

   pertinent part, that all items or information disclosed and produced in this litigation

   would constitute “Discovery Material,” (id. ¶ B.2), and would be subject to the

   following protection:

          All Discovery Material (or any copies, summaries, or abstracts thereof)
          shall be used solely for the purpose of conducting this Litigation
          (including for purposes of mediating or otherwise attempting to settle this
          Litigation). However, a Party may move before the Court in this Litigation
          by letter motion to request permission to use Discovery Material in
          another case or matter.

   (Id. ¶ C.)

          As discussed in more detail below, for many months, Plaintiffs have been

   attempting to use Discovery Material obtained in this action from non-party SCB in a

   case in which SCB is named as a defendant, namely, Freeman v. HSBC Holdings PLC, No.

   18-CV-7359 (PKC) (CLP) (hereinafter “Freeman II”). The first-filed Freeman case, Freeman

   v. HSBC Holdings PLC, No. 14-CV-6601 (PKC) (CLP) (hereinafter “Freeman I”), and

   Freeman II are referred to collectively in this opinion as “Freeman.” SCB objects to use of




   Freeman cases, and includes only the most pertinent procedural history necessary to place the
   current motion into context. See generally Freeman v. HSBC Holdings PLC, No. 14-CV-6601 (PKC)
   (CLP) (hereinafter “Freeman I”); Freeman v. HSBC Holdings PLC, No. 18-CV-7359 (PKC) (CLP)
   (hereinafter “Freeman II”).

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   the confidential materials produced in connection with this case in Freeman.2 (SCB Disc.

   Mot., ECF No. 374.)

          On September 13, 2023, Plaintiffs’ counsel filed a pre-motion conference letter in

   Bartlett indicating their intention to request leave to use in Freeman records that had

   been produced by SCB in Bartlett, and enclosed a letter that was filed with the

   Honorable Pamela K. Chen, the presiding judge in Freeman. (Pls.’ Letter, ECF No. 344.)

   In response, on September 27, 2023, this Court held a conference to address whether the

   Protective Order in Bartlett permitted use of these materials in Freeman. (Sept. 27, 2023

   ECF Min. Entry & Order.) At the conference, all parties consented to converting the

   parties’ pre-motion conference letter to a motion, and the Court denied the motion on

   the record without prejudice. (Id.) In denying the motion, the Court found that Plaintiffs

   had not demonstrated “an ‘extraordinary circumstance of compelling need’ to modify

   the protective order in this case, on which non-party Standard Chartered Bank and the

   Moving Defendants have demonstrated significant reliance.” (Id. (quoting S.E.C. v.




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            As the Honorable Carol Bagley Amon has observed, the Bartlett and Freeman cases are
   interrelated as follows:

          The Freeman Actions were commenced in 2014 and bear some similarities to
          Bartlett. . . . The Freeman plaintiffs were also injured in terror attacks and
          brought actions against different foreign banks alleged to have assisted the terror
          networks responsible for those attacks under the Justice Against Sponsors of
          Terrorism Act (“JASTA”) amendment to the Anti-Terrorism Act. However, the
          Freeman Actions are brought against different defendants, six European-
          headquartered banks and the UK subsidiary of an Iranian bank, alleged to have
          knowingly provided illegal banking services to agents or components of terrorist
          organizations in Iran. The Freeman Actions also proceed on different theories of
          liability than the causes of action brought here.

   (Mem. & Order, ECF No. 368, at 1–2.) In addition, Plaintiffs’ counsel represents that “all
   plaintiffs in [Freeman II] are also plaintiffs in Bartlett.” Freeman II, No. 18-CV-7359 (PKC) (CLP),
   Second Am. Compl., ECF No. 117, at 3 n.5.


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   TheStreet.Com, 273 F.3d 222, 229 (2d Cir. 2001)); see also Tr. of Status Conference, ECF

   No. 346, at 55–59.)

          Plaintiffs appealed this ruling to the Honorable Carol Bagley Amon, the

   presiding District Judge in Bartlett, who affirmed this Court’s ruling in a written

   decision issued on December 21, 2023. (Mem. & Order, ECF No. 368.) In her affirmance,

   Judge Amon first found that disclosure of the SCB discovery material would constitute

   a modification of the Bartlett Protective Order. (Id. at 6.) Having so found, Judge Amon

   proceeded to analyze the four-factor test used to evaluate “whether a party has

   reasonably relied on the protective order,” and other factors pertinent to the analysis of

   when modification may be warranted. (Id. at 8–10 (discussing, inter alia, Charter Oak Fire

   Ins. Co. v. Electrolux Home Prods., Inc., 287 F.R.D. 130, 132 (E.D.N.Y. 2012) and In re

   EPDM Antitrust Litig., 255 F.R.D. 308, 318–19 (D. Conn. 2009)).) Ultimately, Judge Amon

   found “that SCB relied on the protective order when making disclosures” in Bartlett and

   that “Plaintiffs’ filing does not allege any extraordinary circumstance or compelling

   need to make the requested disclosure.” (Id. at 10.) In her analysis of the question of

   whether there was a “compelling need to share discovery for efficiency reasons,” Judge

   Amon differentiated between those cases that had permitted sharing on that basis and

   this case, observing as follows:

          The circumstances here are different. As noted, these are not the same
          parties, and the Freeman parties at this stage in their litigation have not
          been permitted to engage in discovery. Therefore, the prejudice of using
          SCB’s third-party disclosures in Bartlett to establish a cause of action against
          SCB in another case is apparent.

   (Id. at 10–11 (emphasis added).)

          Within one week of Judge Amon’s decision, Plaintiffs’ counsel filed a redacted

   second amended complaint in Freeman II, which incorporated materials from the Bartlett

   discovery, which were filed in redacted form. The second amended complaint expressly
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   acknowledges that the redacted allegations were “sourced” from the Bartlett Discovery

   Material as follows:

          A limited set of allegations in the Second Amended Complaint, which
          provide additional evidence that some of the Defendants knowingly
          provided substantial assistance to the IRGC and Hezbollah, are redacted
          (and are not visible to any party or the Court). These allegations are
          sourced from records Plaintiffs received from third parties in response to
          subpoenas issued in Bartlett v. SGBL, No. 19-cv-7-CBA-TAM (E.D.N.Y.)
          (all plaintiffs in this action are also plaintiffs in Bartlett), subject to a
          protective order in that case. Bartlett, ECF No. 273. Those highly relevant
          records will presumably be subject to discovery in this case, meaning
          omitting them from the Second Amended Complaint needlessly
          prejudices Plaintiffs and inconveniences the Court.

   Freeman II, No. 18-CV-7359 (PKC) (CLP), Second Am. Compl., ECF No. 117, at 3 n.5.

   Plaintiffs elaborated in the Freeman II second amended complaint that they sought leave

   to “constructively subpoena themselves to produce those records in this case for the

   limited purpose of making the allegations redacted here” and that they included the

   information, in redacted form, because they had “insufficient time to renew their

   discovery motion to this Court.” Id.

          On February 5, 2024, Judge Chen held a conference in Freeman II. (Tr. of Status

   Conference, ECF No. 375-1 (hereinafter “Tr. of Freeman II Status Conference”).) At that

   conference, Judge Chen first addressed counsel’s then-pending request to

   “constructively subpoena themselves” for the sought-after SCB materials they had

   received in Bartlett. (Id. at 5:17–18.) Judge Chen rejected counsel’s request, finding as

   follows:

          [I]t would end up being an end run around the protective order that exists
          [in Bartlett]. I mean, if parties who are subject to a protective order in one
          case get certain information pursuant to the protective order that bars
          them from using it outside of that case, then go and constructively
          subpoena those in another case, it seems to me you’ve avoided the
          intended restrictions in the other case that Judge Amon is presiding over
          along with Magistrate Judge Merkl.



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          So I think that that would be wholly inappropriate, in part because I don’t
          think there is such a vehicle under the rules. And secondly, here it would
          allow you to do something that the Bartlett judges have not approved . . . ,
          which is to, in effect, get materials that are subject to a protective order
          there.

          Rather, I think what you can do though is subpoena the same records
          from the same parties, Standard Bank, which is obviously a defendant
          here, and then [KBC], a nondefendant or third party here. You could
          subpoena them and then we would deal, as we would in any other case,
          with any discovery disputes that arise out of those subpoenas.

   (Id. at 6:21–7:16.)

          Judge Chen also observed that the stay of discovery in Freeman II had effectively

   been lifted, and she reiterated to counsel that they should subpoena SCB for the records

   they sought in Freeman II, stating that “to avoid . . . any question that somehow you’re

   running afoul of the Bartlett protective order and I think to avoid having to go back to

   Judge Amon and to Judge Merkl on this issue about whether they would lift that

   protective order,”3 the parties and the court should “just deal with it, in this case, with a


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             The Court further notes that Plaintiffs rely on a comment made by Judge Chen in
   which she suggested that the Bartlett ruling “was really based on the fact that discovery had not
   restarted here.” (See Pls.’ Opp’n, ECF No. 376, at 2; see also Tr. of Freeman II Status Conference,
   ECF No. 375-1, at 8:8–9.) Plaintiffs’ heavy reliance on this interpretation of the record is
   misplaced. It is correct that the lack of ongoing discovery in Freeman II was one aspect of the
   previous analysis as to whether Plaintiffs had demonstrated a compelling need to modify the
   Protective Order in this case. The lack of ongoing discovery in Freeman was not, however, the
   sole basis for the prior decision, as detailed at the hearing before this Court, summarized in the
   Court’s minute entry and order, and as Judge Amon explained in her decision. (See Tr. of Status
   Conference, ECF No. 346; Sept. 27, 2023 ECF Min. Entry & Order; Mem. & Order, ECF No. 368.)
   A review of the record in Freeman II suggests that the transcript of the September 27, 2023
   proceedings before this Court may not have been provided to Judge Chen, but SCB’s attorney
   summarized the Court’s findings during oral argument. (See Tr. of Freeman II Status Conference,
   ECF No. 375-1, at 34:17–35:17.) Notwithstanding the possibility that Judge Chen may not have
   had the benefit of the full record of the relevant proceedings in this case, she expressly observed
   that in order to use the Bartlett materials, Plaintiffs would have “to go back to Judge Amon and
   to Judge Merkl on this issue about whether they would lift that protective order.” (Id. at 8:6–8.)
   Indeed, at the September 27, 2023 status conference, the Court provided similar directives to
   Plaintiffs’ counsel. Specifically, at the hearing, the Court did not indicate that its findings about
   the Protective Order were solely due to the lack of discovery in Freeman. Rather, the Court
   found that SCB had demonstrated “substantial reliance” “in the determination to produce these
   records” and that Plaintiffs had not demonstrated a compelling need in part due to the lack of


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   straightforward discovery request subpoena for one party or discovery request on the

   defendant party for that same information.” (Id. at 8:4–13; 8:17–18 (noting that the stay

   of discovery had effectively been lifted).) After lengthy argument, Judge Chen

   suggested to the parties that the best course would be to proceed with discovery in

   Freeman, subject to this Court’s clarification on the scope of the Protective Order, and

   what it means to “use” information that is protected by it. (Id. at 38:16–21; see also id. at

   54:15–17 (observing that if “the protective order precludes even requesting it as part of

   discovery in another case,” that could foreclose discovery of the same materials in

   Freeman); id. at 69:20–24 (“[I]f Judge Amon and Merkl rule that even making a request

   to get them again in another case constitutes use that’s prohibited by the protective

   order, I think that will pretty much foreclose any further argument before me . . . .”).)

          On February 29, 2024, SCB filed the pending motion, requesting that this Court

   enter an order (1) “confirming for Judge Chen in Freeman I and Freeman II that this

   Court’s prior holdings that the Protective Order in this case do not permit Plaintiffs or

   their counsel to use materials that SCB and KBC Bank (‘KBC’) produced and designated

   as ‘Confidential Information’ for any purpose other than the Bartlett case, including to

   try to support plaintiffs’ motion to vacate the final judgment of dismissal in Freeman I,

   to formulate an amended complaint in Freeman II, or to make discovery requests in

   Freeman II or in any other case,” and (2) admonishing Plaintiffs’ counsel “against any

   further misuse of those materials.” (SCB Disc. Mot., ECF No. 374, at 1 (citation

   omitted).) In their motion, SCB represents that the Freeman II plaintiffs “used


   ongoing discovery; the motion was consequently denied. (Tr. of Status Conference, ECF No.
   346, at 59:6–7, 59:16–18; see also Sept. 27, 2023 ECF Min. Entry & Order.) The denial was without
   prejudice, and the Court expressly told counsel that if discovery were to commence in Freeman,
   “[y]ou can come back, but there would need to be a change of factual circumstance and the legal
   circumstances that could flow from that change of factual circumstance to come back.” (Tr. of
   Status Conference, ECF No. 346, at 59:16–18, 59:20–24.)

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   Confidential Information subject to the [Bartlett] Protective Order in drafting an

   amended complaint in Freeman II,” and that after Judge Amon issued the opinion

   discussed above, Plaintiffs’ counsel filed a 704 page second amended complaint in

   Freeman II that contained “47 pages of redacted allegations that those plaintiffs admit

   were ‘sourced from’ the confidential banking records that SCB and KBC had produced

   to Plaintiffs” in this case. (Id. at 2.)

          Defendants opening motion contends that Plaintiffs’ counsel improperly used

   the SCB discovery information in multiple ways, including: (1) to formulate allegations

   in an effort to amend the complaint in Freeman II; (2) to formulate discovery demands in

   Freeman II; (3) to “pique” Judge Chen’s curiosity by including redacted allegations in

   the Freeman II amended complaint; (4) as support for their request to seek discovery in

   Freeman II; and (5) as support for their motion to vacate the final judgment of dismissal

   in Freeman I. (Id. at 4–5.) SCB clarifies in its reply brief, however, that “the principal

   improper use” here was Plaintiffs’ use of the protected materials to craft the redacted

   allegations that are “sourced from records Plaintiffs received from third parties in

   response to subpoenas issued in Bartlett.” (Defs.’ Reply, ECF No. 384, at 2 n.2 (quotation

   marks omitted).)

          Plaintiffs respond by arguing that they did not misuse the Bartlett discovery

   materials for the following reasons. First, Plaintiffs posit that Judge Chen lifted the stay

   of discovery in Freeman II so that Plaintiffs “can request records produced in Bartlett.”

   (Pls.’ Opp’n, ECF No. 376, at 1.) Second, Plaintiffs suggest that this Court previously

   “explained that if Judge Pollak or Judge Chen . . . commence discovery in Freeman, then

   Bartlett discovery may be cross-applied between the cases.” (Id. (quotation marks

   omitted).) Third, Plaintiffs argue that “SCB clings to the ‘absurd tenet that a party can

   avoid discovery in one case merely because it disclosed the same material to an
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   adversary bound by a protective order in another case.’” (Id. (quoting Carter-Wallace,

   Inc. v. Hartz Mtn. Indus., 92 F.R.D. 67, 69 (S.D.N.Y. 1981)).) Plaintiffs also report that they

   “re-issued effectively the same document request that SCB received in Bartlett in the

   form of a subpoena because the original subpoena (1) was not confidential and (2) was

   drafted before SCB produced anything.” (Id. at 5 (emphasis in original).)

          The Court finds that Plaintiffs’ first two arguments rest on an oversimplification

   of the record and that Plaintiffs have violated the Protective Order in Bartlett by their

   conduct in Freeman. For the reasons discussed herein, the review and incorporation of

   Discovery Material in the amended complaint in Freeman II — even redacted —

   constitutes an improper use of material that is subject to the Protective Order in that the

   Discovery Material was used to craft claims against SCB. The Court further finds,

   however, that an authorized discovery request in another matter would not generally be

   precluded by the fact that the same responsive documents were produced elsewhere

   subject to a protective order.

                                          DISCUSSION

   I. Legal Standards

      A. Protective Orders to Manage Discovery

          “In large complex cases, courts often enter into ‘umbrella’ protective orders,

   which permit parties to designate in advance a large volume of discovery material as

   confidential.” In re Zyprexa Inj., 474 F. Supp. 2d 385, 416 (E.D.N.Y. 2007). In determining

   the meaning of such a protective order, the language “must be construed according to

   general principles of contract law.” City of Hartford v. Chase, 942 F.2d 130, 134 (2d Cir.

   1991). In such an interpretation, the plain meaning of the words in the order will

   control. Id.



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           In one of the leading Second Circuit cases on the issue, Martindell, the court had

    occasion to analyze a protective order that provided that certain discovery, “including

    transcripts of testimony and documents furnished by the defendants, were to be made

    available only to the parties and their counsel and not to be used for any purpose other

    than the preparation for and conduct of the litigation.” Martindell v. Int’l Tel. & Tel.

    Corp., 594 F.2d 291, 293 (2d Cir. 1979). In that case, the U.S. Attorney’s Office sought to

    gain access to deposition testimony for 12 witnesses “for use in the Government’s

    investigation into possible violations of federal criminal laws.” Id. at 293. The district

    judge denied the government’s request, finding, inter alia, that the testimony “had been

    given in reliance upon the protective order” and “that principles of fairness mandated

    enforcement of the protective order.” Id. The Circuit explained its reasoning as follows:

           Unless a valid Rule 26(c) protective order is to be fully and fairly
           enforceable, witnesses relying upon such orders will be inhibited from
           giving essential testimony in civil litigation, thus undermining a
           procedural system that has been successfully developed over the years for
           disposition of civil differences.

    Id. at 295. The court further observed that:

           After balancing the interests at stake, we are satisfied that, absent a
           showing of improvidence in the grant of a Rule 26(c) protective order or
           some extraordinary circumstance or compelling need, none of which
           appear here, a witness should be entitled to rely upon the enforceability of
           a protective order against any third parties, including the Government,
           and that such an order should not be vacated or modified merely to
           accommodate the Government’s desire to inspect protected testimony for
           possible use in a criminal investigation . . . .

    Id. at 296.

       B. Reasonable Reliance on a Protective Order

           It is now well established that a district court should not modify a protective

    order where “there has been reasonable reliance by a party or deponent” unless there is

    “a showing of . . . some extraordinary circumstance or compelling need.” TheStreet.Com,


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    273 F.3d at 229 (quotation marks omitted). “There is a strong presumption against

    modifying protective orders because they serve the vital function of ensuring just,

    speedy, and inexpensive determination of civil disputes by encouraging full disclosure

    of all relevant evidence.” Arcesium LLC v. Advent Software, Inc., No. 20-CV-4389 (MKV),

    2022 WL 621973, at *3 (S.D.N.Y. Mar. 3, 2022) (citation omitted). This presumption is

    appropriate because “[i]f protective orders were easily modified, . . . parties would be

    less forthcoming in giving testimony and less willing to settle their disputes.”

    TheStreet.Com, 273 F.3d at 230; see also Martindell, 594 F.2d at 295–96.

           Consistent with these principles, as discussed above, the Court previously found

    that SCB had reasonably relied on the Protective Order in this case, and that Plaintiffs

    had not established an extraordinary circumstance or compelling need to modify the

    order to permit use of Discovery Material in Freeman II. (Sept. 27, 2023 ECF Min. Entry

    & Order.) Judge Amon reiterated and expanded upon this Court’s ruling; she also

    observed that although modifications of protective orders are sometimes made to

    promote efficiency, they should not be used to “‘subvert a limitation on discovery.’”

    (Mem. & Order, ECF No. 368, at 10 (quoting In re EPDM Antitrust Litig., 255 F.R.D. at

    324).) She further observed that the “Freeman plaintiffs are seeking to use the discovery

    in Bartlett to revive a case where they have been denied discovery to support a

    proposed amended complaint.” (Id.) Additionally, in her prejudice analysis, Judge

    Amon found that, given that the Freeman parties had not been allowed to take discovery

    due to motion to dismiss practice, “the prejudice of using SCB’s third-party disclosures

    in Bartlett to establish a cause of action against SCB in another case is apparent.” (Id. at

    11.)




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    II. Analysis

           The issue before the Court turns on what it means to “use” discovery material

    produced in reliance on a protective order. The pertinent sentence of the parties’

    Protective Order, which is entitled “Use of Discovery Material,” states: “All Discovery

    Material (or any copies, summaries, or abstracts thereof) shall be used solely for the

    purpose of conducting this Litigation.” (Protective Order, ECF No. 273, ¶ C.) This latter

    language is similar to the use restriction at issue in Martindell, where the circuit affirmed

    the district court’s determination that materials that were only to be used for the

    “preparation for and conduct of the litigation” could not be disclosed further absent a

    showing of “some extraordinary circumstance or compelling need.” Martindell, 594 F.2d

    at 293, 296.

           An analysis of the procedural history here, together with the plain text of the

    Protective Order, brings this Court to the conclusion that Plaintiffs’ counsel has used

    Discovery Material from Bartlett without properly seeking modification of the

    Protective Order.4 As set forth above, any utilization of Discovery Material produced

    under the Protective Order in this case was to be solely for the purpose of the litigation

    in Bartlett absent further leave of the Court. Notably, this portion of the Protective

    Order provides a mechanism for a party or non-party to “move before the Court in this

    Litigation by letter motion to request permission to use Discovery Material in another

    case or matter.” (Protective Order, ECF No. 273, ¶ C.) The parties are clearly familiar

    with this portion of the Protective Order because they did, in fact, so move previously

    as detailed at length above.


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            “Use” is of course a very common word that everyone understands to mean
    something akin to “utilize.” According to the Merriam-Webster Dictionary, the definition of the
    word “use” is “to put into action or service,” or “avail oneself of.” Merriam-Webster Dictionary,
    https://www.merriam-webster.com/dictionary/use (last visited Aug. 6, 2024).

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           Notwithstanding this Court’s clear ruling and Judge Amon’s thorough

    explication of her findings affirming the determination that Plaintiffs had not advanced

    “an extraordinary circumstance or compelling need” to modify the Protective Order,

    Plaintiffs’ counsel has acknowledged using information obtained from SCB to draft the

    allegations in the second amended complaint in Freeman II, which allegations were then

    filed in redacted form. (Pls.’ Opp’n, ECF No. 376, at 3.) In the oral argument before her,

    Judge Chen indicated that she did not consider filing the complaint under redaction

    “misuse just yet[,] because it really hasn’t come to fruition. I mean, it’s sitting there

    under . . . blackout, so that’s not using it, in my opinion.” (Tr. of Freeman II Status

    Conference, ECF No. 375-1, at 18:7–9.)

           Although Judge Chen found that the redacted allegations have not been used yet

    because she had not yet read or considered them, the totality of the record shows that

    Plaintiffs have sought to avail themselves of Bartlett Discovery Material in the Freeman II

    case in two specific ways that Judge Amon already rejected as a possible basis for

    modifying the Protective Order, to wit: (1) “to revive a case where they have been

    denied discovery to support a proposed amended complaint” and (2) “to establish a

    cause of action against SCB in another case.” (Mem. & Order, ECF No. 368, at 10–11.)

    Against the backdrop of the procedural history here, and in light of the timing of Judge

    Amon’s ruling, the Court has little difficulty finding that Plaintiffs’ counsel has

    attempted to use Bartlett Discovery Material in Freeman II for both of these purposes,

    and that counsel may well have included the redacted material in the second amended

    complaint in an effort to “pique” Judge Chen’s curiosity, as SCB suggests. (SCB Disc.

    Mot., ECF No. 374, at 4.)

           Plaintiffs suggest that SCB’s “overwrought objections and feigned indignation”

    have been “a colossal waste of both Courts’ time.” (Pls.’ Opp’n, ECF No. 376, at 5.) The
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    Court views this situation quite differently. Faced with time constraints to file the

    second amended complaint in Freeman II, Plaintiffs’ counsel had many possible options.

    They could have filed their second amended complaint without including redacted

    allegations “sourced,” at least in part, from the Bartlett Discovery Material. Or, Plaintiffs

    could have sought an extension of time to file the amended complaint from Judge Chen

    in light of Judge Amon’s affirmance of this Court’s Protective Order ruling a mere six

    days before their deadline. Or, Plaintiffs could have sought to open discovery in

    Freeman II prior to amending the complaint and sought permission from Judge Chen to

    issue a document request to SCB based on their knowledge of the case and without

    regard to discovery produced in Bartlett. Or, Plaintiffs could have sought to open

    discovery in Freeman II and, if that was granted, then returned to this Court for another

    evaluation of whether they could then demonstrate a compelling need to modify the

    Protective Order. They did none of these things. Instead, counsel decided to brazenly

    prepare an amended complaint that knowingly incorporated protected material.

    Notwithstanding that the protected material was filed with redactions, this decision has

    resulted in significant inefficiency in both Freeman II and Bartlett.

           In addition, to date, Plaintiffs have not filed a motion to renew their request to

    modify the Protective Order in Bartlett, perhaps because what they are attempting to

    accomplish with the Discovery Material is not amply justified by the caselaw.

    Specifically, as set forth above, the record strongly indicates that Plaintiffs are seeking to

    use Bartlett discovery to “establish a cause of action against SCB in another case” and to

    “subvert” a limitation on discovery in Freeman. (See Mem. & Order, ECF No. 368, at 10.)

    See also AT&T Corp. v. Sprint Corp., 407 F.3d 560, 562 (2d Cir. 2005) (finding modification

    of the protective order unwarranted where the plaintiff was attempting to “circumvent

    the close of discovery” in a collateral action); 8 Charles Alan Wright, Arthur R. Miller &
                                                 14
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    Richard L. Marcus, Federal Practice and Procedure Civil 2d § 2044.1 (2d ed. 1994) (“If

    the limitation on discovery in the collateral litigation would be substantially subverted

    by allowing access to discovery material under a protective order, the court should be

    inclined to deny modification.”). By analyzing the Bartlett Discovery Material to craft

    allegations for the second amended complaint in Freeman II and by relying on Bartlett

    Discovery Material to argue in support of seeking discovery in a case where a limitation

    had been placed on discovery due to motion to dismiss practice, the Court finds that

    Plaintiffs’ counsel has violated the Protective Order.

           Notwithstanding this conclusion, the Court shares Judge Chen’s concern about

    vaunting procedure over substance. (See Tr. of Freeman II Status Conference, ECF No.

    375-1, at 21:19–25.) Indeed, as other courts have recognized, a protective order cannot be

    used “as a means of protecting discovery that would otherwise be discoverable in the

    related actions.” Charter Oak, 287 F.R.D. at 134; see also Carter-Wallace, 92 F.R.D. at 69

    (rejecting the “tenet that a party can avoid discovery in one case merely because it

    disclosed the same material to an adversary bound by a protective order in another

    case”). At the same time, however, parties cannot take matters into their own hands and

    use protected materials without first seeking a modification of a protective order,

    whether such use includes actually filing protected information in another case or using

    the existence of information in an effort to gain a strategic advantage in another case. In

    this case, Plaintiffs’ counsel’s effort to do an end run around the Protective Order is

    unacceptable. Counsel is placed on notice that further efforts to bypass the Protective

    Order may result in sanctions.

           But where does this leave things? As Judge Chen suggested at the oral argument

    before her, “the definition of ‘use’ might require a little more teasing out.” (Tr. of

    Freeman II Status Conference, ECF No. 375-1, at 69:7–9.) For example, Judge Chen
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    inquired as to whether “use” only applies to “physically introducing them and relying

    on them or does it actually prohibit including your knowledge of them to acquire them

    to use them?” (Id. at 69:9–13.) Here, the facts presented indicate that the Court need not

    answer the latter, more difficult question.5 In their response, Plaintiffs assert that their

    document request in Freeman II is based on the subpoena that was issued in Bartlett,

    which was prepared before counsel had any exposure to protected information. (Pls.’

    Opp’n, ECF No. 376, at 5.) SCB does not refute this claim in its reply. If Plaintiffs’

    representation is accurate — and Judge Chen determines that discovery may commence

    in Freeman II (without considering arguments grounded on Bartlett Discovery Material)

    — then the Protective Order in Bartlett, which shields SCB’s information from being

    used for purposes other than this litigation, cannot also serve as sword to cut down the

    plaintiffs’ discovery demands in Freeman II.6 For all of these reasons, the Court finds

    that the Protective Order is not a bar to the Freeman II plaintiffs’ discovery efforts, if

    Judge Chen finds that discovery is appropriate in that case without reference to

    information gleaned from Bartlett Discovery Material.




           5
            At the oral argument before Judge Chen, an analogy was drawn to a fruit of the
    poisonous tree-type analysis, which may be apt in the abstract if the Court actually needed to
    answer the question of whether the discovery requests in Freeman II were derived from
    protected discovery materials provided in Bartlett. (See Tr. of Freeman II Status Conference, ECF
    No. 375-1, at 32:1.)
           6
              This dual-track approach could, of course, introduce inefficiency, which has been
    found to constitute a compelling need to modify a protective order under some circumstances.
    See Charter Oak, 287 F.R.D. at 134; In re EPDM, 255 F.R.D. at 324 (“Certainly if the litigant could
    access the same materials and deposition testimony by conducting its own discovery, it is in the
    interest of judicial efficiency to avoid such duplicative discovery.” (citing 8 Wright & Miller
    § 2044.1)); Carter-Wallace, 92 F.R.D. at 69–70 (discussing the tension between the mandate of
    Federal Rule of Civil Procedure 1 for a “just, speedy, and inexpensive determination” of federal
    actions and the policy against re-using previously produced discovery).

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                                       CONCLUSION

          For the reasons discussed herein, the Court grants SCB’s motion for clarification

    and admonishment of Plaintiffs’ counsel.

          SO ORDERED.

    Dated: Brooklyn, New York
           August 13, 2024

                                            _____________________________________
                                            TARYN A. MERKL
                                            UNITED STATES MAGISTRATE JUDGE




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